Case 4:22-cv-02399 Document 1 Filed on 07/18/22 in TXSD_ Page 1 of 8
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200 Baker 57, (3E2A) Cause No. I
Houston, x. 77002 o signee
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— __lHeeris County Sherit¥s Office and i 1 Aognts . i an
1200 Baker Sh ut 18 7022
Houston, Te 7700? a __ Rathan Ockise* ee

ZN THE UNITED STATES DESTRICT COURT.
_ POR THE SOUTHERN DESTRICT. OF TEXAS

HOUSTON DIVES TON

TO THE HONORABLE COURT:

Dennis WG L7reer Je plant? COM Jains of the Mowers County Sheclis Office.

nach its Agents, and tor. cause_of action shows.

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This couse of action arises under the frst t fourth, fifth. sixth, eighth, thicteen
+th, ain. fourteenth. Amendments to the Unitech States Constitution and

ander United States Code Tile 42. Sections USCSS [981 USCSS 1982,

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Uics $198, and UICS § (985. Turisel ction of she Lourt is invoked px sesuaat_

to_l Unitecl States Code Title IZ USCSS 196! cand United States Code Tite 2E

section 1443,

P Point 1 Is. currenty _and at-all ep plicable times: Wasa pr SONNE in The Vaita
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(States of America. the _ Sfaite. or Texas, onal cy. oF Houston atthe. address

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_. All acts af the defendants ancl the d efen chants AGents Spec ified in this

__________coinplaint. wee dlone_by the dlefenclant.or such agents under the color

and_practice of the statutes, regulations, customs, and _peacedun
of the State of Texas and under the clirections_of she deindant act
Ing_in their capacity as the Harris County Sheo##'S. Office ancl their.

agents, individually anel in theic_oficial. capacities as_patrol_ officers,

‘ Tk t * book / ' ‘ i . . ‘ '
Jail officials including but not lined to Haceis County Sheeiff Fal.

Gonzales, anyother unknown employess of the Harris County Shecits

coe od Office and its Agents, incl 1 ing ay. other third party defen clants

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Actions of the defendants and the defen donts agents have_violatec
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retaliation of dl ang 30 the exercise of my fourth amendment —
byuse.of any £ cttamend ment by declarin oto clefend myself trom
illegal and unreasonable search and seizures, the Hifth amendment.
from violations of due process ot the law, and _just.campen sation, by
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: sixth and eighth amendments prohibiting any ancl all. cruel anel_cnusua|
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The Texas Commission on Tomate Jail Stendaras.ax_wellas exhausting —
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also.indudin but not limited to Uniteel States. Cade Title 42. Sect on SCTE / 98
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the nome Demis Z. Groer insteadof my birth Given name with ALS
: - records fo match in_aft feast the y far otf £997 of Dennis Waine Greer Ins
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Plain bas pucsuedl aclmastrahve remedies: by writing grievances, Texas...
Commission On Tnmate Jail Sianclard ,Lntecnal [ftaus, tate Senator.

Toho Cocnyn, United States Presiclent Joe Biden, sending notarized

aFidavits to Ma rylyn Burgess bor Kim O 9g, litlary Persqual.,. Hers.
County Sheitls Ed Gonzales, 230 th District Judge Chris Morton, and

Acton . / Jos H- 22-0987. ane. B22 -cu- OIDIO. and wasn of. accord edd any

relict,

\MHERBFORE., plaintift ceguest judgement from this courh__

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Violoite +he Constitution of the atted States

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relal iate against me for exercising. my legal rights,.and_to_prevent the.
Case 4:22-cv-02399 Document1 Filed on 07/18/22 in TXSD Page 5 of 8

fobrication_of evidence fo Pursue more trivolous charges against mej.
see: (State vi Delgado 2009 Tex, fipps LEXTS) and ineludling but not

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for any arrest or impcisonments, including dazna ges for oliscomtart or.

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‘States Cocke Section IMF

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| 4, Granting Plainti#t including but not limited 4 Any such other and

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Rou \ An. Ying f Ag
a _ De nnis \noyne Creer Jr
200 Baker St(GQE2A4)
Houston, 1x..77002

(936) -209-F4S
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Case 4:22-cv-02399 Document1 Filed on 07/18/22 in TXSD Page 6 of 8

is W. Greet (Ir) SPNOITOGOF ei oA. deeotes:
Derr Gree OO tS Bord 32 Cause 17610840, and 23F19630
Houston pk 77002 ‘
Houston Tx ° Affidavit
Martin Flores 5 | (Bar #24[(365%) and he Agente
i2O1 Pantin Sxlot? Floor

Touston, IX. 77202

th __ Befre_me, the undersigned_authorily personally appeared.
_____ Dennis Wayne Greer (Jr.) SPNOILTOCOS NXID/3014321, who duly sworn,
deposed os tollows: My name is Dennis Wayne Greer (Se), Tam
over If vears_of age, competent to_make this atfidavit and
___.__personally atquainfed ith the tacts herein stated:

T.Shoclina the concious

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Th Tneflective ass stantol counsel.

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Wit. Violation of Due Process 5th Amenclment:

_ TT, Violation of Gth Amenclment Speecly Thal Rights. of the Arcuxect

Tite IE USCS 1512, 1513, and 1958

XT. Title 12. Section 1909” Conspicacy_towards a _Blacle Persons.

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Case 4:22-cv-02399 Document1 Filed on 07/18/22 in TXSD Page 7 of 8

ME, Violation of +he [th Amend ment Feud { Protection and Just Compen sation

XM, Titk 2% USCS 1243

RMT, Title 42 section 1983 i

I. DePamation of Character . a

Xvr. Mind. Stigma _

MVC. Title 18 UScy all related provisions of section [%6L”" Racketeering Achvity™

XVI, Texas Penal Code 86.06
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